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 7   BAHAR GHARIB-DANESH, D.C.

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 9
                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,              Case No. 1:15-cr-00179-LJO-SKO
11

12                      Plaintiff,          STIPULATION TO CONTINUE TRIAL
                                            DATE AND REGARDING
13
           vs.                              EXCLUDABLE TIME PERIODS
14                                          UNDER SPEEDY TRIAL ACT;
     BAHAR GHARIB-DANESH, D.C.              DECLARATION OF RICHARD A.
15
     aka BAHAR GHARIB                       MOSS; FINDINGS AND ORDER
16   aka BAHAR DANESH
     aka BAHAR DANESH-GHARIB
17   aka BAHAR DANESH GHARIB
18   NA YOUNG EOH, D.C.
     and JOHN THOMAS TERRENCE,
19         PsyD, Ph.D.,                     Date: August 15, 2017
20
                                            Time: 8:30 a.m.
                        Defendants.         Ctrm: 4
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22

23         TO THE ABOVE-CAPTIONED COURT AND TO ALL PARTIES AND THEIR

24   ATTORNEYS OF RECORD:

25                                        ***

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 1                                           STIPULATION
 2          Plaintiff UNITED STATES OF AMERICA, by and through its counsel of record, and
 3   Defendants BAHAR GHARIB-DANESH, NA YOUNG EOH, and JOHN THOMAS
 4   TERRENCE (hereafter referred to collectively as “Defendants”), by and through their
 5   counsel of record, hereby stipulate as follows:

 6          1.     All parties appeared before the Honorable Sheila K. Oberto on August 15, 2016

 7   for a Second Status Conference. At that time, a trial date was scheduled for August 15, 2017,

 8
     at 8:30 a.m., before the Honorable Lawrence J. O’Neill, with an estimated duration of three

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     (3) weeks. The parties now move to continue this trial date to August 14, 2018 for the
     reasons set forth hereinbelow.
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            2.     By this stipulation, the parties now move to continue the trial date to August
11
     2018, and to exclude time between August 15, 2017 and August 14, 2018, under 18 U.S.C. §
12
     3161(h)(7)(A), (B)(iv).
13
            3.     The parties agree and stipulate, and request that the Court find the following:
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                   (a)    Counsel for Defendant BAHAR GHARIB-DANESH has requested
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     additional time to prepare for trial and a continuance of the trial date due to a setback in his
16
     physical condition which has necessitated rehabilitation. The details of this condition are
17
     outlined in the attached Declaration of Richard A. Moss.
18
                   (c)    Counsel for Defendants believe that failure to grant the above-requested
19
     continuance would deny their clients effective trial preparation, taking into account the
20
     exercise of due diligence.
21
                   (d)    There is no objection to the continuance.
22
                   (e)    This is the first requested continuance of the trial date.
23
                   (f)    Based on the above stated findings, the ends of justice served by
24
     continuing the case as requested outweigh the interest of the public and the defendants in a
25   trial within the original date prescribed by the Speedy Trial Act.
26                 (g)    For purposes of computing time under the Speedy Trial Act, 18 U.S.C. §
27   3161, et seq., within which trial must commence, the time period of August 15, 2017 to
28   August 14, 2018, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A),

                                                       2
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 1   (B)(iv) because it results from a continuance granted by the Court at defendant’s request on
 2   the basis of the Court’s finding that the ends of justice served by taking such action outweigh
 3   the best interest of the public and the defendants in a speedy trial.
 4          4.     Nothing in this stipulation and order shall preclude a finding that other
 5   provisions of the Speedy Trial Act dictate that additional time periods are excludable from the

 6   period within which a trial must commence.

 7          IT IS SO STIPULATED.

 8
     Dated: July 7, 2017                 BENJAMIN B. WAGNER
                                         United States Attorney
 9

10
                                         By:      /s/ Mark J. McKeon
11                                              Mark J. McKeon
                                                Assistant United States Attorney
12

13   Dated: July 7, 2017                 MOSS LAW GROUP
                                         -and- LAW OFFICES OF DANIEL A. BACON
14

15
                                         By:       /s/ Richard A. Moss
16                                              Richard A. Moss, Esq.
17                                              Attorneys for Defendant,
                                                Bahar Gharib-Danesh, D.C.
18

19
     Dated: July 7, 2017                 ZHONG LUN LAW FIRM LLP

20
                                         By:       /s/ Leodis C. Matthews
21
                                                Leodis C. Matthews, Esq.
22                                              Attorney for Defendant,
                                                John Thomas Terrence, PsyD, Ph.D.
23

24   Dated: July 7, 2017                 OFFICE OF THE FEDERAL PUBLIC DEFENDER
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26                                       By:        /s/ Jerome Price, Jr.
                                                Jerome Price, Jr., Esq.
27                                              Attorney for Defendant,
28
                                                Na Young Eoh, D.C.

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 1                            DECLARATION OF RICHARD A. MOSS
 2
            RICHARD A. MOSS, Esq. hereby declares as follows:
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            1.     I am an attorney licensed to practice law before all courts of the State of
 4

 5   California and am a member of the Bar of this Court. I am one of the attorneys of record for

 6   Defendant BAHAR DANESH (hereafter “DANESH”), and I make this Declaration in that
 7
     capacity. I have personal knowledge of all facts contained herein, and if called upon to testify
 8

 9
     as to any such matter, I could and would do so.

10          2.     I was involved in an automobile accident on June 28, 2013. My injuries were
11
     near-fatal. I spent almost a month on life support. I endured numerous surgical procedures
12
     and remained hospitalized until August 23, 2013. My surgeries included the repair of my
13

14   dissected carotid artery, the fusion of vertebrae in my neck and installation of a titanium cage
15   around those vertebrae, and numerous surgeries to reconstruct my legs. After my release
16
     from the hospital, I lived in a rehabilitation facility until October 2, 2013.
17

18
            3.     Since 2013, I have had further complications with the injuries to my legs which

19   have necessitated additional surgeries. I have had approximately 25 surgeries to date. Most
20
     notably, in October 2014, I contracted a Staph infection in my lower right leg that went
21
     undiagnosed and festered for nearly one year. In December 2015, I spent the Christmas
22

23   holidays in the hospital after cellulitis presented as an indication of the Staph infection. My
24
     doctors wanted to amputate my lower right leg, but I refused and opted to have a less-drastic
25
     procedure to clean out and reconstruct the bone. This resulted in another seven (7) months
26

27   where I was not able to bear weight on my right leg.

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 1          4.     Even though there is no evidence of any continuing infection, I continue to have
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     sharp and extreme searing pains in my right ankle. I am working with a physical therapist
 3
     twice a week to facilitate my recovery. I am also taking prescription medications to manage
 4

 5   the pain. While the pain has been dissipating in frequency and intensity, I believe its

 6   continued presence substantially impairs my ability to prepare for the trial set to commence in
 7
     August of this year in Fresno. I am encouraged by the recent improvement in my condition
 8

 9
     and believe that after a few months, I will be able to properly prepare for trial. I respectfully

10   request a postponement of the trial for at least a few months and preferably to August 14,
11
     2018 to enable further recovery. I have no conflicting trials scheduled until December 2018.
12

13

14          I declare under penalty of perjury that the foregoing is true and correct. Executed on
15   July 7, 2017 at Pasadena, California.
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18
                                                 /s/ Richard A. Moss
                                                RICHARD A. MOSS
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 1                                             ORDER
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 3
           For good cause stated, the trial date in this matter is hereby continued from August 15,
 4

 5   2017 to August 14, 2018, at 8:30 a.m., in Courtroom 4. There will be no further

 6   continuances. Should the medical issues described in the moving declaration recur, then co
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     counsel Bacon will be expected to be prepared to try the case.
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     IT IS SO ORDERED.
10
        Dated:   July 7, 2017                          /s/ Lawrence J. O’Neill _____
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                                              UNITED STATES CHIEF DISTRICT JUDGE
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